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 2

 3

 4                              UNITED STATES DISTRICT COURT

 5                             EASTERN DISTRICT OF CALIFORNIA

 6

 7   UNITED STATES OF AMERICA,                        No. 2:15-cr-00190-GEB
 8                  Plaintiff,
 9         v.                                         ORDER FOR EXAMINATION AND
                                                      REPORT UNDER 18 U.S.C. § 4241
10   Larry Todt
11                  Defendant.
12

13                This        order   requires        a    competency     evaluation      of

14   defendant    Larry        Todt   because    of       certain   statements    made    by

15   defendant Larry Todt at the hearing held on March 2, 2018, and

16   his   demeanor      at    that   hearing.        The    statements    were   made    in
17
     connection with Defendant’s request to proceed pro per with the
18
     sentencing phase of this case, rather than to be represented by
19
     his attorney, Michael Lawley.
20             Defendant was allowed to proceed pro se earlier in the

21   case, including during trial until he elected to have his standby

22   attorney, Mr. Michael Lawley, represent him for a portion of the

23   trial.     Defendant was convicted of two felonies by a jury.                       The

24   verdict form containing the charges is attached.

25                The March 2, 2018 status hearing was scheduled because

26   the assigned Probation Officer required to prepare Defendant's

27   Presentence Report, a document that assists the court in making

28   sentencing decisions, informed the judge that the Presentence
                                                 1
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 1   Report   has    not    been   prepared     because      Defendant      Larry    Todt’s

 2   lawyer     canceled     the   interview      scheduled     with       the    Probation

 3   Officer in the following email communication to the Probation

 4   Officer dated January 18, 2018: “Mr. Todt has attempted to fire

 5   me. I will have to put it on calendar for status of counsel

 6   before   we    can    conduct    the   interview.       Sorry,    just       found   out

 7   myself.”

 8                 The    following   portion     of   the   March    2,    2018    hearing

 9   concerning the attempted firing assists in placing in context why
10   the competency evaluation of Defendant has been ordered:
11                 THE COURT: So your understanding, then, Mr.
                   Lawley, and tell me if it's not, is that when
12
                   Mr. Allen attempted to fire you, his goal was
13                 not to replace you with another lawyer.

14                 MR. LAWLEY: I do not believe so your Honor.
                   And he never expressed that to me.
15
                   THE COURT: But he wants to represent himself.
16

17                 MR. LAWLEY: That is my understanding and I
                   believe he wishes for me to continue to
18                 revert back to my stand by counsel in case
                   there's anything, but other than that, my
19                 understanding is, Larry Todt wishes -- Larry
                   Allen wishes to represent -- wishes to have
20                 his status changed to pro per . . . .
21
                   THE COURT: Mr. Allen, do you have a position
22                 on this matter?

23                 MR. TODT: Sir, my position –
24                 THE COURT: Mr. Allen, . . . do you want me
                   to appoint another lawyer to represent you?
25

26                 MR. TODT: No, sir. . . . .

27                 THE COURT: Concerning representation,                    Mr.
                   Allen, what is your desire?
28
                                              2
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 1
              MR. TODT: I do not desire to have any
 2            representation, sir. I -- I do not consent to
              Mr. Lawley representing me as a private
 3
              citizen and a civilian. I do not consent to
 4            represent myself. I've never -- it's never
              been my intention.   I've never consented to
 5            this court to represent myself.    I stand in
              propria persona. I wish to stand before the
 6            court pro per, in propria persona.     That's
              always been my -- your Honor, I would ask to
 7
              proceed in proper and sir, I would also
 8            prefer in camera in a closed court.

 9            THE COURT: Well, that request is denied
              because I don't see reason for doing that at
10            this moment.
11            MR. TODT: Sir –
12
              THE COURT: Well, I'm going to -- I'm going to
13            ask you a question because part of your
              response to the question I've already asked
14            you is not clear.      You authorized me to
              appoint Mr. Lawley to represent you at a
15            point during the trial.      Do you remember
16            doing that?

17            MR. TODT: I would        like   to   clear   up   that
              confusion, sir.
18
              THE COURT: Are you telling me -- are you
19            telling me that you did not agree to allow
              Mr. Lawley to represent you during the trial?
20
21            MR. TODT: Sir, I would like to withdraw that
              request to allow Mr. Lawley to represent me.
22
              THE COURT: When did you decide, if you know,
23            to withdraw the request to have Mr. Lawley to
              represent you as your attorney?
24

25            MR. TODT: Prior to my meeting with Mr. Lawley
              when we were supposed to talk to the
26            probation officer . . . . .

27            MR. LAWLEY: If I could just for clarification
              and for simplicity sake, your Honor, is it
28
                                        3
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 1            possible if the court would phrase it as such
              as to proceed in pro per?
 2
              THE COURT: What did I say?
 3

 4            MR. LAWLEY:      You    said    to   represent     --   I
              understand
 5
              THE COURT: No.      I   don't    know   what   I    said.
 6            What did I say.
 7
              MR. LAWLEY: You said allow him to represent
 8            himself.   That is contentious for Mr. Allen
              but pro per if he proceeds in pro per that is
 9            non-contentious.

10            THE COURT: I see I was using the wrong words.
11            MR. LAWLEY: I was just asking if the court
12            would consider using the term in pro per.

13            THE COURT: I would. MR. LAWLEY:          Okay. . . .

14            THE COURT: Mr. Allen, what does pro per mean
              to you?
15

16            MR. TODT: In person without representation of
              an attorney.
17
              THE   COURT:   It  means   that          the       person
18            represents him or herself.
19            MR. TODT: No, sir. It means that a person
              stands   before   the   court   in   a   non-
20
              representative capacity and only as a witness
21            to the proceedings.

22            THE COURT: Well, that doesn't make sense. I
              don't know what that means.        It's not
23            logical.
24
              MR. TODT: What I intended to say, sir, is
25            that I do not allow anyone to speak on behalf
              of Larry Todt. I am the authorized agent for
26            Mr. Todt.    Mr. Todt, the defendant, is a
              fictitious legal person whose name is written
27            in all caps. I am a private citizen.     If I
              believe that some legal response is required
28
                                        4
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 1            on behalf of Mr.         Todt,     I   will   authorize
              myself to respond.
 2
              THE COURT: You're a private citizen?
 3

 4            MR. TODT: Yes, sir.

 5            THE COURT: What's your name?

 6            MR. TODT: My name is -- my given name is
              Larry Allen of the lawful house of Todt.
 7

 8            THE COURT: And what do you mean by the lawful
              house of Todt?
 9
              MR. TODT: The name Todt I inherited from my
10            father. My given name was given to me by my
              mother.
11

12            THE COURT: What name was given to you by your
              mother?
13
              MR. TODT: Larry Allen.
14
              THE COURT: You just mentioned Todt.
15

16            MR. TODT: That is a family name. I could not
              be given a name that already existed, sir.
17            That name was always a family name.

18            THE COURT: Was is your family?
19            MR. TODT: It was not my family until I was --
              I came into the world on May 9th, 1952.
20
21            THE COURT: When you came into the world on
              May 9th, 1952, were you in the Todt family?
22            MR. TODT: I was in the Southeast Missouri
              Hospital.
23
              THE COURT: Was your father's last name Todt?
24
              MR. TODT: No, sir. My father does not have a
25            last name.    He has a family name.      Only
              corporations have last names, sir.
26
              THE COURT:     What   was       your   father's   family
27            name?
28
                                          5
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 1            MR. TODT: Todt.
 2            THE COURT:     What   was       your   mother's   family
              name?
 3

 4            MR. TODT: Moore.

 5            THE COURT: Did your mother always go by the
              family name Moore?
 6
              MR. TODT: Until -- I can't answer that, sir.
 7
              I'm not quite sure.
 8
              THE COURT: Did she ever go by the family name
 9            Todt?

10            MR. TODT: She may have.
11            THE COURT: You don't know . . .
12
              MR. TODT: I don't know what her intention
13            was, sir.

14            THE COURT: Okay.
15            MR. TODT: She's dead.           She died while I was
16            in jail.

17            THE COURT: Okay.      Sorry about that.

18            MR. TODT: With all due respect, sir –
19            THE COURT: We don't want to go with due
              respect yet.     I have another question for
20
              you.   I   want   to  get   clarification on
21            something.    If I allow you to proceed pro
              per, who are you representing?
22
              MR. TODT: I'm not representing anyone, sir. I
23            would be here in a capacity as the agent --
              Larry Todt is --
24
              THE COURT: I think you may be -- I think you
25            may be manipulating the proceedings or else
              you need to be evaluated and so –
26
              MR. TODT: Sir.
27
              THE COURT: No.     I think I'm going to send you
28
                                          6
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 1                to be evaluated for competency.
 2                MR. TODT: I don't accept your offer.
 3
                  THE COURT: Well, you don't have to.    You're
 4                going because if you are competent and are
                  manipulating the proceedings as I believe you
 5                are, that may have a significant bearing on
                  sentencing.   And you have done this before.
 6                So I'm sending you to be evaluated for
                  competency.
 7

 8                MR. TODT: I don't accept your offer to be
                  sent for evaluation.
 9
                  THE COURT: You don't have to.
10
                  MR. TODT: Sir.
11

12                THE COURT: You don't have to accept it.

13                MR. TODT: Sir, this court does not have
                  jurisdiction.  Sir, who do you think you're
14                dealing with? Are you dealing with –
15                THE COURT: Mr. Allen –
16
                  MR. TODT: Are       you   dealing    with   a   United
17                States citizen.

18                THE COURT: Get out of the courtroom.             Take
                  him out.   You're done.   Take him out.           I'm
19                talking to the lawyers now.1
20                In light of Defendant’s communications at the March 2,
21   2018     hearing    and   his   somewhat     combative   demeanor,     I   have
22   reasonable cause to believe that the defendant may presently be
23   suffering from a mental disease or defect rendering him mentally
24   incompetent to the extent that he is unable to understand the
25   nature     and   consequences   of   the    sentencing   proceedings    and   to
26   assist properly in his defense.            18 U.S.C. § 4241(a).      Therefore,
27
     1
       This portion of what occurred during the proceeding is in the reported real
28   time transcript.
                                            7
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 1   Defendant Larry Allen Todt is committed to the custody of the

 2   Attorney General of the United States who shall find a suitable

 3   facility for the evaluation of him under 18 U.S.C. § 4241(b).

 4                 The examining officials are authorized to access all

 5   pertinent       medical        and   collateral     information,    including

 6   psychiatric and medical records and psychological reports and

 7   testing.      The attorneys in this case should provide the examining

 8   officials information that could be helpful in the competency

 9   determination.

10                 The Clerk of the Court shall attach to this Order the

11   following filings in the docket: 80, 99, 100, 109, 110, 111, 112

12   and 326.      The Clerk of the Court shall include the United States

13   Marshal and the Federal Bureau of Prisons in the service of this

14   Order.     The service on the Federal Bureau of Prisons shall have

15   attached thereto a copy of the Indictment (docket number 1) and

16   shall    be    served     by    email   to   the   following   address:   gra-

17   dsc/teampapa~@bop.gov.

18   Dated:     March 2, 2018

19

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21

22

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